                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


UNITED STATES OF AMERICA,                     )
                                              )
                               Plaintiff,     )
                                              )
                       v.                     )       No. 3:11-CR-08
                                              )
MELVIN GARLAND,                               )       (VARLAN/SHIRLEY)
                                              )
                               Defendant.     )


                                   ORDER OF DETENTION

       This case came before the Court on April 8, 2011, for a detention hearing pursuant to 18

U.S.C. § 3142(f). Assistant United States Attorney Kelly Ann Norris was present representing the

Government. Attorney Wayne Stambaugh was present representing the Defendant, who was also

present. The Government sought pretrial detention, arguing that no conditions of release existed that

would reasonably assure the safety of the community or the Defendant’s presence at trial. The Court

heard the testimony of two witnesses for the Government: Postal Inspector Wendy Boles and FBI

Special Agent Paul Hughes.

       The Defendant is charged [Doc. 43] with one count of conspiracy to distribute and possess

with intent to distribute one hundred kilograms or more of marijuana. The Court finds there is

probable cause to believe the Defendant committed an offense for which a maximum term of

imprisonment of ten years or more may be prescribed. Therefore, the Court finds that pursuant to

18 U.S.C. § 3142(e)(3), a rebuttable presumption arises that no condition or combination of

conditions will reasonably assure the safety of other persons and the community and no condition


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or combination of conditions that will reasonably assure the appearance of the person in this Court.

       At the detention hearing, the Government presented the testimony of Postal Inspector Wendy

Boles. Inspector Boles testified that she became involved with the investigation of the Defendant

in her position as a postal inspector investigating narcotics trafficking through the mail. Based on

her investigation, Inspector Boles testified that the Defendant was involved in a conspiracy to

distribute marijuana and that the Defendant was the organizer of the conspiracy. Inspector Boles

testified that on February 8, 2011, the Defendant shipped a package containing marijuana from

Tempe, Arizona to Knoxville, Tennessee. Inspector Boles testified that based on interviews with

co-defendants, the Defendant would travel from his home in Baltimore, Maryland to Arizona every

forty-five days to carry out his part of the drug conspiracy. Moreover, Inspector Boles testified that

the Defendant would travel to Knoxville, Tennessee every two to three weeks to visit his mother.

       The Government also presented the testimony of FBI Special Agent Paul Hughes. Agent

Hughes testified that he became involved in an investigation of the Defendant in 2008. Specifically,

Agent Hughes testified that he began investigating the Defendant in July 2008 regarding his alleged

involvement in a series of check cashing business robberies in Knoxville, Tennessee.

        At the conclusion of the Government’s testimony, the Defendant informed the Court that

he wished to consent to detention. The Court asked the Defendant a series of questions regarding

his consent to detention, and the Defendant maintained that he wished to consent to detention and

understood that he would remain in custody until the time of his trial. Therefore, because the

Defendant presented no evidence that he would comply with the conditions imposed by this Court,

not flee, and not pose a danger to others, the Court finds that the Defendant has failed to rebut the

presumption imposed by 18 U.S.C. § 3142(e).


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       The Court finds that at the hearing the Government produced sufficient evidence to establish

the Defendant to be a flight risk and the danger posed to the community from the Defendant’s release

to be great. Specifically, the Court finds that the Government proved that the Defendant was a risk

of flight by a preponderance of evidence and that the Defendant posed a danger to the community

by clear and convincing evidence.       Accordingly, the Court concludes that no condition or

combination of conditions of release exist that could reasonably assure the safety of the community

or the Defendant’s presence in court. Therefore, the Defendant is ORDERED to remain in detention

until his trial. The Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a correction facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. The Defendant shall

be afforded a reasonable opportunity for private consultations with defense counsel. On order of a

court of the United States or on request of an attorney for the Government, the person in charge of

the corrections facility shall deliver the Defendant to the United States Marshal for the purpose of

an appearance in connection with a court proceeding.

               IT IS SO ORDERED.

                                                     ENTER:

                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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